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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                       Case No. 4:13-cr-00220-BLW

                     Plaintiff,
                                                 ORDER CONTINUING TRIAL
        v.                                       AND TRIAL READINESS
                                                 CONFERENCE
 MIGUEL A. VILLEDA, et al.,

                     Defendants.


      Defendant Miguel Villeda was recently arraigned and scheduled for trial on April

7, 2014. The co-defendants are scheduled for trial on May 19, 2014. Under the Speedy

Trial Act, 18 U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period of

delay when the defendant is joined for trial with a co-defendant as to whom the time for

trial has not run and no motion for severance has been granted.” No motion for severance

has been filed. Accordingly, pursuant to 18 U.S.C. § 3161(h)(6), the Court will move

Defendant Miguel Villeda’s trial to May 19, 2014 with the other defendants. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for

Defendant Miguel Villeda is VACATED, and that a new trial be set for May 19, 2014 at

1:30 p.m. in the U.S. Courthouse in Pocatello, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

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U.S.C. § 3161(h)(6).

      IT IS FURTHER ORDERED that the current trial readiness conference for

Defendant Miguel Villeda be VACATED, and that a new trial readiness conference be

conducted by telephone on May 8, 2014 at 4:00 p.m. The Government shall place the

call to (208) 334-9145 with opposing counsel on the line. .



                                         DATED: February 24, 2014



                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge




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